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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                            Case Nos.:     3:08cr22/LAC
                                                              3:09cv551/LAC/EMT

MICHAEL BERGER


                            REPORT AND RECOMMENDATION

        This matter is before the court upon a motion to vacate, set aside, or correct sentence filed
pursuant to 28 U.S.C. § 2255, and supporting memorandum of law (docs. 839, 840). The
Government has filed a corrected response (doc. 856),1 and Defendant has filed a reply (doc. 873).
The matter is referred to the undersigned magistrate judge for report and recommendation pursuant
to 28 U.S.C. § 636 and N.D. Fla. Loc. R. 72.2(B). After a careful review of the record and the
arguments presented, it is the opinion of the undersigned that Defendant has not raised any issue
requiring an evidentiary hearing, Rules Governing Section 2255 Cases 8(a) and (b), and that the
motion should be denied.
                                         BACKGROUND
        Defendant was charged in a superseding indictment with various charges related to internet
distribution of child pornography (doc. 78, counts 1, 2, 3, 16, 26, 40). Defendant was represented
by appointed counsel Michelle Hendrix. On October 2, 2008, he entered a guilty plea to Count 26




        1
          The Government’s corrected response did not include the attachments submitted with its
original response, which is found at doc. 855 (see doc. 856 at 1 & n.1 (noting that corrected response
was filed only to correct “spacing issues” and that the court could rely on the attachments submitted
with doc. 855, the original response)).
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of the indictment, which charged knowingly receiving child pornography in interstate and foreign
commerce via the computer in violation of 18 U.S.C. § 2252A(a)(2) and 2 (doc. 289; doc. 78 at 24).
         At the change of plea proceeding, the Assistant United States Attorney indicated that the
change of plea hearing was scheduled “[a]fter extensive conversations with defense counsel . . . .”
(doc. 855 at 83).2 He further stated that it was the Government’s understanding that “the defense
will then waive any and all defenses to the indictment, and retract any and all motions previously
filed” (id.). Pursuant to Defendant’s plea, the Government agreed that it would not prosecute
Defendant in the District of Maryland for a crime committed in that district, although the court
would be permitted to consider the conduct in question at sentencing (id. at 84). The court advised
Defendant of his rights, including the fact that he would be giving up the right to appeal the question
of his guilt or innocence because he would be admitting his guilt (id. at 89).
         Counts 1, 2, 3, 16 and 40 were dismissed upon oral motion of the Government at sentencing,
and Defendant was sentenced to a term of 180 months imprisonment,3 followed by 15 years of
supervised release (doc. 387). He appealed, but the appeal was dismissed upon his own motion on
November 12, 2009 (doc. 830). The instant motion to vacate was filed on December 15, 2009,
through counsel. In the present motion Defendant raises a single ground for relief. He contends that
counsel was constitutionally ineffective for her failure to file a motion to suppress the evidence
seized from his residence. The Government opposes the motion.
                                             LEGAL ANALYSIS
         General Legal Standards
         Because collateral review is not a substitute for direct appeal, the grounds for collateral
attack on final judgments pursuant to § 2255 are extremely limited. A prisoner is entitled to relief
under section 2255 if the court imposed a sentence that (1) violated the Constitution or laws of the
United States, (2) exceeded its jurisdiction, (3) exceeded the maximum authorized by law, or (4) is



         2
             Page references are to the page as identified by the court’s electronic docketing system.
         3
         The Presentence Investigation Report (“PSR”) calculated Defendant’s total offense level
at 35, and his criminal history category at I. Thus, the applicable Guidelines range was 168 to 210
months.
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otherwise subject to collateral attack. 28 U.S.C. § 2255; Thomas v. Crosby, 371 F.3d 782, 811 (11th
Cir. 2004); United States v. Phillips, 225 F.3d 1198, 1199 (11th Cir. 2000). “Relief under 28 U.S.C.
§ 2255 ‘is reserved for transgressions of constitutional rights and for that narrow compass of other
injury that could not have been raised in direct appeal and would, if condoned, result in a complete
miscarriage of justice.’” Lynn v. United States, 365 F.3d 1225, 1232 (11th Cir. 2004) (citations
omitted). The “fundamental miscarriage of justice” exception recognized in Murray v. Carrier, 477
U.S. 478, 496 (1986), provides that it must be shown that the alleged constitutional violation “has
probably resulted in the conviction of one who is actually innocent . . . .”
         The law is well established that a district court need not reconsider issues raised in a section
2255 motion which have been resolved on direct appeal. United States v. Nyhuis, 211 F.3d 1340,
1343 (11th Cir. 2000); Mills v. United States, 36 F.3d 1052, 1056 (11th Cir. 1994); United States
v. Rowan, 663 F.2d 1034, 1035 (11th Cir. 1981); Hidalgo v. United States, 138 Fed. Appx. 290
(11th Cir. 2005). Once a matter has been decided adversely to a defendant on direct appeal, it
cannot be re-litigated in a collateral attack under section 2255. Nyhuis, 211 F.3d at 1343 (quotation
omitted). Broad discretion is afforded to a court’s determination of whether a particular claim has
been previously raised. Sanders v. United States, 373 U.S. 1, 16 (1963) (“identical grounds may
often be proved by different factual allegations . . . or supported by different legal arguments . . . or
couched in different language . . . or vary in immaterial respects”).
         Furthermore, a motion to vacate under section 2255 is not a substitute for direct appeal, and
issues which could have been raised on direct appeal are generally not actionable in a section 2255
motion and will be considered procedurally barred. Lynn, 365 F.3d at 1234–35; Bousley v. United
States, 523 U.S. 614, 621 (1998); Mills v. United States, 36 F.3d at 1055 (recognizing that a ground
is “available” on direct appeal when “its merits can be reviewed without further factual
development”); United States v. Frady, 456 U.S. 152, 165 (1982). Absent a showing that the ground
of error was unavailable on direct appeal, a court may not consider the ground in a section 2255
motion unless the defendant establishes (1) cause for not raising the ground on direct appeal, and
(2) actual prejudice resulting from the alleged error, that is, alternatively, that he is “actually
innocent.” Lynn, 365 F.3d at 1234; Bousley, 523 U.S. at 622 (citations omitted). To show cause
for procedural default, a defendant must show that “some objective factor external to the defense

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prevented [him] or his counsel from raising his claims on direct appeal and that this factor cannot
be fairly attributable to [defendant’s] own conduct.” Lynn, 365 F.3d at 1235. A meritorious claim
of ineffective assistance of counsel can constitute cause. See Nyhuis, 211 F.3d at 1344.
         Ineffective assistance of counsel claims are generally not cognizable on direct appeal and
are properly raised by a § 2255 motion regardless of whether they could have been brought on direct
appeal. Massaro v. United States, 538 U.S. 500, 503 (2003); see also United States v. Patterson, 595
F.3d, 1324, 1328 (11th Cir. 2010). The benchmark for judging a claim of ineffective assistance of
counsel is “whether counsel’s conduct so undermined the proper functioning of the adversarial
process that the trial cannot be relied on as having produced a just result.” Strickland v.
Washington, 466 U.S. 668, 686 (1984). To show a violation of his constitutional right to counsel,
defendant must demonstrate both that counsel’s performance was below an objective and reasonable
professional norm and that he was prejudiced by this inadequacy. Id., 466 U.S. at 686; Williams v.
Taylor, 529 U.S. 362, 390 (2000); Gaskin v. Secretary, Dept. of Corrections, 494 F.3d 997, 1002
(11th Cir. 2007). “Strickland’s two-part test also applies where a prisoner contends ineffective
assistance led him or her to enter an improvident guilty plea.” Yordan v. Dugger, 909 F.2d 474, 477
(11th Cir. 1990) (citing Hill v. Lockhart, 474 U.S. 52 (1985)); United States v. Pease, 240 F.3d 938,
941 (11th Cir. 2001). In applying Strickland, the court may dispose of an ineffective assistance
claim if defendant fails to carry his burden on either of the two prongs. 466 U.S. at 697.
         In determining whether counsel’s conduct was deficient, this court must, with much
deference, consider “whether counsel’s assistance was reasonable considering all the
circumstances.” Id. at 688; see also Dingle v. Secretary for Dept. of Corrections, 480 F.3d 1092,
1099 (11th Cir. 2007). “[R]eviewing courts must indulge a strong presumption that counsel’s
conduct fell within the wide range of reasonably professional assistance.” Yordan, 909 F.2d at 477
(citing Harich v. Dugger, 844 F.2d 1464, 1469 (11th Cir. 1988); Dingle, 480 F.3d at 1099; Chandler
v. United States, 218 F.3d 1305, 1314 (11th Cir. 2000); Lancaster v. Newsome, 880 F.2d 362, 375
(11th Cir. 1989) (emphasizing that petitioner was “not entitled to error-free representation”)).
Counsel’s performance must be evaluated with a high degree of deference and without the distorting
effects of hindsight. Strickland, 466 U.S. at 689. To show counsel’s performance was unreasonable,
a defendant must establish that “no competent counsel would have taken the action that his counsel

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did take.” Gordon v. United States, 518 F.3d 1291, 1301 (11th Cir. 2008) (citations omitted);
Chandler, 218 F.3d at 1315 (en banc)). When examining the performance of an experienced trial
counsel, the presumption that counsel’s conduct was reasonable is even stronger, because
“[e]xperience is due some respect.” Chandler, 218 F.3d at 1316 n.18.
         With regard to the prejudice requirement, defendant must establish that, but for counsel’s
deficient performance, the outcome of the proceeding would have been different. Strickland, 466
U.S. at 694. For the court to focus merely on “outcome determination,” however, is insufficient;
“[t]o set aside a conviction or sentence solely because the outcome would have been different but
for counsel’s error may grant the defendant a windfall to which the law does not entitle him.”
Lockhart v. Fretwell, 506 U.S. 364, 369–70 (1993). A defendant therefore must establish “that
counsel’s errors were so serious as to deprive the defendant of a fair trial, a trial whose result is
reliable.” Lockhart, 506 U.S. at 369 (quoting Strickland, 466 U.S. at 687). Or in the case of alleged
sentencing errors, a defendant must demonstrate that there is a reasonable probability that, but for
counsel’s errors, the result of the proceeding would have been less harsh due to a reduction in the
defendant’s offense level. Glover v. United States, 531 U.S. 198, 203–04 (2001). A significant
increase in sentence is not required to establish prejudice, as “any amount of actual jail time has
Sixth Amendment significance.” Id.
         To establish ineffective assistance, defendant must provide factual support for his
contentions regarding counsel’s performance. Smith v. White, 815 F.2d 1401, 1406–07 (11th Cir.
1987). Bare, conclusory allegations of ineffective assistance are insufficient to satisfy the Strickland
test. Wilson v. United States, 962 F.2d 996, 998 (11th Cir. 1992); Tejada v. Dugger, 941 F.2d 1551,
1559 (11th Cir. 1991); Stano v. Dugger, 901 F.2d 898, 899 (11th Cir. 1990) (citing Blackledge v.
Allison, 431 U.S. 63, 74 (1977)); United States v. Ross, 147 Fed. Appx. 936, 939 (11th Cir. 2005).
         Finally, the Eleventh Circuit has recognized that given the principles and presumptions set
forth above, “the cases in which habeas petitioners can properly prevail . . . are few and far
between.” Chandler, 218 F.3d at 1313. This is because the test is not what the best lawyers would
have done or even what most good lawyers would have done, but rather whether some reasonable
lawyer could have acted in the circumstances as defense counsel acted. Dingle, 480 F.3d at 1099;
Williamson v. Moore, 221 F.3d 1177, 1180 (11th Cir. 2000). “Even if counsel’s decision appears

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to have been unwise in retrospect, the decision will be held to have been ineffective assistance only
if it was ‘so patently unreasonable that no competent attorney would have chosen it.’” Dingle, 480
F.3d at 1099 (quoting Adams v. Wainwright, 709 F.2d 1443, 1445 (11th Cir. 1983)). The Sixth
Circuit has framed the question as not whether counsel was inadequate, but rather counsel’s
performance was so manifestly ineffective that “defeat was snatched from the hands of probable
victory.” United States v. Morrow, 977 F.2d 222, 229 (6th Cir. 1992).
         Although section 2255 mandates that the court conduct an evidentiary hearing “unless the
motion and files and records conclusively show that the prisoner is entitled to no relief,” a defendant
must support his allegations with at least a proffer of some credible supporting evidence. See
Chandler v. McDonough, 471 F.3d 1360, 1363 (11th Cir. 2006) (citing Drew v. Dept. of
Corrections, 297 F.3d 1278, 1293 (11th Cir. 2002) (referring to “our clear precedent establishing that
such allegations are not enough to warrant an evidentiary hearing in the absence of any specific
factual proffer or evidentiary support”); Hill v. Moore, 175 F.3d 915, 922 (11th Cir. 1999) (“To be
entitled to an evidentiary hearing on this matter [an ineffective assistance of counsel claim],
petitioner must proffer evidence that, if true, would entitle him to relief.”)); Ferguson v. United
States, 699 F.2d 1071, 1072 (11th Cir. 1983). A hearing is not required on frivolous claims,
conclusory allegations unsupported by specifics, or contentions that are wholly unsupported by the
record. Peoples v. Campbell, 377 F.3d 1208, 1237 (11th Cir. 2004); Tejada, 941 F.2d at 1559;
Holmes v. United States, 876 F.2d 1545, 1553 (11th Cir. 1989) (citations omitted). Likewise,
affidavits that amount to nothing more than conclusory allegations do not warrant a hearing. Lynn,
365 F.3d at 1239.
         Counsel’s Failure to File a Motion to Suppress
         The Supreme Court has stated, that “[w]hen a criminal defendant has solemnly admitted in
open court that he is in fact guilty of the offense with which he is charged, he may not thereafter
raise independent claims relating to the deprivation of constitutional rights that occurred prior to the
entry of the guilty plea.” Tollett v. Henderson, 411 U.S. 258, 267 (1973). He may, however, attack
the voluntary and intelligent character of the plea by showing that the advice he received from
counsel was constitutionally unsound. Id. That is precisely what Defendant now claims: that his
plea was not entered knowingly, intelligently and voluntarily because at the time he entered his plea,

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he was unaware that the Government’s evidence should have been suppressed, and he was unaware
that it should have been suppressed because his attorney ineffectively failed to move to suppress it.
He asserts that his internet account, which had been linked to child pornography, had been
“compromised,” and that the Government’s failure to include this information in the search warrant
affidavit invalidated the entire search warrant.
         Generally, when counsel’s alleged ineffectiveness involves a failure to competently litigate
a Fourth Amendment claim, in order to demonstrate actual prejudice, the defendant must prove that
his Fourth Amendment claim is meritorious and that there is a reasonable probability that the verdict
would have been different absent the excludable evidence. Kimmelman v. Morrison, 477 U.S. 365,
375 (1986); Zakrzewski v. McDonough, 455 F.3d 1254, 1260 (11th Cir. 2006). Regardless of
whether a defendant’s guilt is established by the excludable evidence, the proper question is whether
the outcome of the proceedings would have been different had the motion to suppress been filed and
the evidence been excluded. Jones v. United States, 224 F.3d 1251, 1259 (11th Cir. 2000); Huynh
v. King, 95 F.3d 1052, 1058–59 (11th Cir. 1996); Thomas v. Newsome, 821 F.2d 1550, 1552 (11th
Cir. 1987); see also Davidson v. United States, 213 Fed. Appx. 769, 771 (11th Cir. 2007) (defendant
pleaded guilty after counsel advised him that a challenge to a search warrant affidavit that may have
knowingly included false statements probably would be unsuccessful, because even the redacted
affidavit would include evidence of defendant’s subscription to a child pornography internet group);
Ward v. Dretke, 420 F.3d 479, 488 (5th Cir. 2005).
         When challenging the integrity of a warrant under the Fourth Amendment, a defendant must
first show that the affidavit in support of the warrant contained misrepresentations or omissions that
were either deliberate or made with reckless disregard for the truth. United States v. Novaton, 271
F.3d 968, 986 (11th Cir. 2001) (citing United States v. Jenkins, 901 F.2d 1075, 1080 (11th Cir.
1990)); United States v. Martin, 615 F.2d 318, 329 (5th Cir. 1980);4 Franks v. Delaware, 438 U.S.
154, 171 (1978) (defendant must show “deliberate falsehood or reckless disregard for the truth”);
Green v. Nelson, 595 F.3d 1245, 1252 (11th Cir. 2010)); Davidson, 213 Fed. Appx. at 771. Merely

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        All cases from the former Fifth Circuit handed down by the close of business on September
30, 1981, are binding on the Eleventh Circuit. Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th
Cir.1981) (en banc).
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negligent omissions will not undermine the affidavit, and the burden remains on Defendant to prove
the false statement or omission was the result of more than negligence. Martin, 615 F.2d at 329; see
also Madiwale v. Savaiko, 117 F.3d 1321, 1326–27 (11th Cir. 1997) (negligent omissions will not
invalidate a warrant, and even intentional or reckless omissions will invalidate a warrant only if the
omitted facts would have prevented a finding of probable cause); United States v. Burston,159 F.3d
1328, 1333 (11th Cir. 1998). If that standard is met, the affidavit must next be examined to
determine whether the result of excluding the alleged misrepresentations or including the alleged
omissions would have been a lack of probable cause for issuance of the warrant. Novaton, 271 F.3d
at 986–87; Franks, 438 U.S. at 171–72.
         In Martin, 615 F.2d at 629, there was “no evidence in the record directly illuminating the
state of mind of the affiant when he omitted certain facts from the affidavit,” and the same is true
in this case. Defendant baldly asserts:
         [t]he only conclusion that can be reached from the failure to include the
         ‘compromised account’ information in the affidavit is that either the Government
         intentionally misled the court or the Government acted with reckless disregard of the
         truth. Any reasonable person would have known that this was the kind of
         information the judge would wish to know.
(doc. 840 at 12). In its response, the Government denies that the affiant omitted any facts that would
have negated probable cause either maliciously or with reckless abandon (doc. 856 at 12), and it
frames the facts as presented by Defendant in a different light. The Government explains that the
“compromise” cited by Defendant was not quite as he suggests, and in fact was further evidence of
the sophistication of the charged conspiracy (see doc. 855, exh. E). Defendant has presented no
proof that the omission of information related to the “compromise,” if it can be construed as an
omission, was more than negligent. Absent such proof the inquiry could end here. However, the
court will assume for sake of argument that Defendant has met his burden and examine the contents
of the affidavit in conjunction with the charged “omission.”
         The affidavit in support of the search warrant of Defendant’s residence was executed by FBI
Special Agent John Kohler and is fifty-one (51) pages in length (doc. 855, exh. A). Agent Kohler
is a Special Agent for the FBI, assigned to the “Innocent Images/Crimes Against Children with the
Richmond, Virginia Division of the FBI” (id.). By way of background, Kohler states in his affidavit

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that he had received particularized training in the investigation of “computer-related crimes, Usenet,
peer-to-peer computer networking, and online (i.e., internet-based) crimes against children (id. at
¶ 2). The affidavit purports to set forth, not each and every fact known to Agent Kohler concerning
the investigation, but rather those facts necessary to establish probable cause to believe that
evidence, fruits, and instrumentalities of violations of statutes relating to the sexual exploitation of
minors would be located at the premises to be searched (id. at ¶ 4). It includes detailed definitions
of terms related to the offense conduct and to computers and the internet, as well as a description
of how computers are used with respect to child pornography (id. at ¶¶ 6–15). The affidavit also
describes the workings of the criminal enterprise under investigation, including its use of “highly
technical and advanced security measures to avoid law enforcement detection,” such as the use of
separate newsgroup locations for communication of text (e.g., instructions and passwords for
successful download of specific child pornographic materials and for the retrieval of the materials),
the swapping of file extensions which must be re-swapped in order to successfully download
pictures or video files, a requirement of complete anonymity among members, and the frequent
changing of member nicknames and personal PGP keys5 (id. at ¶¶ 17–22).
         Defendant is identified in the affidavit as a subject of the investigation and associated with
certain nicknames used to communicate with other members of the child exploitation enterprise
(doc. 855, exh. A, ¶ 23). On September 2, 2006, an individual using the nickname “artery-clogger,”
which was known to be used by Defendant, accessed one of the newsgroups used by the enterprise
and posted a message which included instructions on how to access video and still child
pornography images of a particular child at a different newsgroup location (id. at ¶¶ 24–25).6 On
September 10, 2006, an individual using the same nickname of “artery-clogger” accessed the same




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             Pretty Good Privacy, or “PGP,” is software for use in encryption or decryption (doc. 855,

exh. A at ¶ 6u).
         6
          Accessing the files required accessing a separate newsgroup, locating all files with the
identified subject, and downloading, decrypting and reassembling those files (see doc. 855, exh. A
at ¶ 25).
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newsgroup and posted a message which contained instructions on how to access a different set of
child pornography videos featuring another child victim (id. at 27–28).
         On May 17, 2007, the Government served an administrative subpoena on Newscene Usenet
News Service requesting subscriber information for the individual responsible for the September 10,
2006 post (doc. 855, exh. A, ¶ 29). The information it received identified Defendant Mike Berger
and provided his email address, debit card information, and seventeen IP addresses7 associated with
the account, among other information (id. at ¶ 30). The Government subsequently subpoenaed
subscriber information associated with the email address that had been provided, and Comcast
responded by providing Defendant’s name, address and phone number, although it also appeared
that the account had not been created until after the two messages described above were posted (id.
at ¶¶ 31, 32). The Government also performed an internet online query regarding the seventeen IP
addresses and learned that the ISP was Comcast (id. at ¶ 33). When it requested subscriber
information from Comcast about the user of the seventeen IP addresses, it was again provided with
Defendant’s name, address and phone number (id. at ¶¶ 34–35).
         Through another subpoena, the Government learned that the phone number associated with
Defendant’s email address was for a “Joe Corbi’s Wholesale,” which, it subsequently learned, was
or had been Defendant’s employer (doc. 855, exh. A at ¶¶ 36–38).
         On September 23, 2006, an individual using the nickname of “artery-clogger” accessed one
of the newsgroups used by the enterprise and posted a message which included instructions on how
to access video child pornography images of a child at a different newsgroup location (doc. 855, exh.
A at ¶¶ 40– 41).
         In August of 2007, law enforcement subpoenaed information from Newscene Usenet New
Service about any internet accounts bearing Defendant’s name or being paid by a particular debit
card number (doc. 855, exh. A at 42). They obtained, among other things, numbers on credit/debit

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         Internet Protocol (“IP”) addresses are defined and explained in paragraph 6q of the affidavit
as unique numeric addresses used by computers on the internet that allow internet sites to properly
route traffic from the source to the destination. The assignment of IP addresses is controlled by
Internet Service Providers (“ISPs”). There are two types of IP addresses: dynamic, which as the
name suggests, differ each time the user accesses the ISP, and static, which function as a permanent
IP address (doc. 855, exh. A at 6q).
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cards that had also been used for payment and that had previously been linked or were later linked
to Defendant’s address (id. at ¶¶ 43–45, 52–54).
         On July 27 and August 5, 2007, an individual using the nickname “Hanako,” which had also
been linked to Defendant, accessed a different newsgroup used by the enterprise and posted
messages which included instructions on how to access still and video child pornography images
of a child at a different newsgroup location that was also different from the one previously used
(doc. 855, exh. A at ¶¶ 46, 48). Download, decryption and reassembly based on these messages
revealed still and video images of child pornography (id. at ¶¶ 47, 49). On September 13, 2007, an
individual using the nickname “Volsch,” which had also been linked to the Defendant, posed a
message on yet another newsgroup with instructions for accessing video and still images of child
pornography (id. at ¶¶ 62–63).
         One of the Visa cards linked to Defendant was used in June of 2007 to make a $125.00
purchase on eBay, via PayPal, with the purchased item shipped to Defendant’s place of employment,
using an IP address linked to Defendant’s internet account (doc. 855, exh. A, ¶¶ 55–61).
         On November 9, 2007, law enforcement requested subscriber information from Easynews
Holdings for any internet accounts being paid with Defendant’s credit card number, and in response
received information regarding accounts, credit cards, and an IP address linked to Defendant (doc.
855, exh. A, ¶¶ 65–68).
         Despite the detail provided above, Defendant contends that there was material information
omitted from the affidavit, and that the omitted information undermines the probable cause
determination. Specifically, Defendant asserts that in September of 2006, the Government issued
a subpoena requesting information relating to the September 2, 2006 message posted by “artery-
clogger,” which post is referenced in paragraph 24 of the affidavit and discussed supra (doc. 840,
exh. B).8 On September 15, 2006, in response to the subpoena, Michael McMahon, a Newscene
records custodian, responded via email:
         As we discussed briefly in our conversation on 9/13/06, the message cited in the
         subpoena was posted through an account that was compromised. The only
         information I am able to confirm with certainty is the IP address from which the

         8
             This subpoena was not mentioned in the search warrant.
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       message was posted, and the time at which the connection to our server was united
       and terminated.
(Doc. 840 at 8 & exh. C). Defendant asserts that the documents attached to Mr. McMahon’s email
indicate that the post in question came from an IP address originating in Nurenberg, Germany (id.).
The Government also issued a subpoena9 seeking information about the September 10, 2006 post
by “artery-clogger,” which post is referenced in paragraph 27 of the affidavit and also discussed
supra (id. at 9 & exh. D). Mr. McMahon responded that the message was posted using the same
account involved in the subpoena referenced immediately above, and “[a]s we discussed at that time,
the account was compromised” (id., exh. E). McMahon further indicated that with respect to the
previous subpoena, he had provided to another agent via email upon request “a list of timestamps
and IP addresses from which the compromised account had been accessed” (id.). Defendant states
that the documents attached to McMahon’s January 3, 2007 response indicate that the post in
question came from an IP address originating in Middletown, New Jersey. There are no documents
attached to exhibit E, although this information is mentioned in a separate exhibit (see doc. 840, exh.
6 at 2).
           Defendant hired Michael L. Meacham, an “Information Technology” (“IT”) expert, to review
his case and offer an opinion on what Mr. McMahon meant when he stated that Defendant’s account
had been “compromised” (doc. 840, exh. F). In a letter to Defendant’s attorney dated December 10,
2009, Meacham concluded that because Defendant’s account had been compromised, or “hacked,”
and hackers routinely obtain usernames and passwords and are able to post materials through the
account without the owner’s knowledge, there is “no evidence to conclude that [Defendant] posted
the offensive materials” (doc. 840, exh. F at 3). In fact, Meachum noted that discovery showed that
two of the objectionable messages mentioned in the search warrant affidavit were posted from IP
addresses originating in Nurenberg, Germany and Middletown, NJ, and that although the FBI had
been given a complete list of timestamps and IP addresses from which the compromised account had
been accessed, the list was not included in the affidavit in support of the search warrant (id. at 1, 2).
It does not appear that Meachum ever spoke to McMahon, however.


           9
        The date on the subpoena states “the 13th day of 2006” and the response is requested by
an unspecified date in January of 2007.
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         With its response, the Government has submitted the affidavit of Barbara Cordero,
Supervisory Special Agent with the FBI who is assigned to the Innocent Images National Initiative
Unit of the Cyber Division, and who assisted Agent Kohler in authoring the search warrant affidavit
(doc. 855, exh. E). Ms. Cordero acknowledges that law enforcement received information that
Defendant’s Newscene account had been “compromised” in September of 2006 (id.). The same
week, Constable Brenden Power of the Queensland Police Service, who is an expert in online
investigations and was working from Cordero’s FBI office on this investigation, contacted
Newscene and spoke directly to Michael McMahon, the author of the email asserting Defendant’s
account had been “compromised” (id.). Constable Power learned that McMahon had concluded that
the account was “compromised” based merely on the erratic IP addresses associated with
Defendant’s account and that McMahon had investigated no other possibilities (id.). Mr. McMahon,
Power learned, was “not even familiar with what TOR[10] was or how it operated.” After discussion,
the two men agreed that TOR was being used via Defendant’s account (id.). Constable Power then
confirmed that the IP address related to the subpoena was via TOR, and thus law enforcement
learned that Defendant’s account was using TOR as opposed to being “hacked” into by outside
individuals (id.). Ms. Cordero concludes her affidavit by stating that given that the conspirators
promoted the use of TOR, it was law enforcement’s reasonable belief that Defendant’s account was
not “hacked,” but that it was using this online tool to make the communications anonymous in
furtherance of the illicit activity (id.).
         The probable cause standard does not require any showing that an officer’s belief that
evidence will be found in the searched premises “be correct or more likely true than false.” Texas
v. Brown, 460 U.S. 730, 742 (1983) (citation and internal quotation marks omitted). Rather,
probable cause to search exists so long as the supporting affidavit contains information showing a
“fair probability” that evidence of a crime would be found there. Illinois v. Gates, 462 U.S. 213, 238

         10
           TOR was defined in the search warrant affidavit as a network of virtual tunnels that allow
users and groups to improve their privacy and security on the internet. It is a program and network
of freestanding computers that act as a three chain anonymous encrypted proxy. Generally, a user’s
communication will travel through three other participating user computers before being sent to its
final destination (doc. 855, exh. A at ¶ 6v). The Government explains in its response to Defendant’s
motion that TOR is an acronym for “The Onion Router” (doc. 856 at 14).
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(1983). Neither certainty nor a preponderance of the evidence is required. Gates, 462 U.S. at 246.
As the Eleventh Circuit has recently reiterated:
         A sufficient basis for probable cause for a search exists when under the totality of the
         circumstances there is a fair probability that contraband or evidence of a crime will
         be found in a particular place. A fair probability, in turn exists when the facts and
         circumstances would lead a reasonably prudent person to believe that the place to be
         searched contains contraband or evidence of a crime.
United States v. Noriega, 676 F.3d 1252, 1261 (11th Cir. 2012) (quoting United States v. Lopez, 649
F.3d 1222, 1245 (11th Cir. 2011) (alteration, citations, and quotation marks omitted)).
         Defendant did not cite any cases involving electronic evidence. However, there are a number
of cases, both published and unpublished, wherein defendants challenged the issuance of search
warrants that relied upon such evidence, and courts were forced to address the particular problems
unique to electronic evidence. In United States v. Perez, 484 F.3d 735, 740 (5th Cir. 2007) the
defendant challenged a search warrant that produced evidence of crimes involving child
pornography. The affidavit in that case stated that a witness had viewed child pornography that had
been transmitted over an IP address assigned to the defendant. The defendant argued that the mere
association of an IP address with a physical location did not give probable cause to search the
address, because if he had an unsecure wireless connection, neighbors could have used his access
to make the transmissions. Id. The court noted that “though it was possible that the transmissions
originated outside of the residence to which the IP address was assigned, it remained likely that the
source of the transmissions was inside the residence.” Id. (emphasis added). Similarly, in United
States v. Grant, 218 F.3d 72, 75 (1st Cir. 2000), defendant argued that the affidavit in support of the
search warrant failed to prove it was he, rather than someone else, who was using his account to
traffic in child pornography. The court noted that although an individual other than the account’s
registrant might be able to access an account illicitly, there was no evidence suggesting that on any
given occasion, the user was not likely to be the registrant. It concluded that “even discounting for
the possibility that an individual other than [defendant] may have been using his account, there was
a fair probability that [defendant] was the user and that evidence of the user’s illegal activities would
be found in his home.” Id.; see also United States v. Massey, No. 4:09cr506–DJS, 2009 WL
3762322 (E.D. Mo. Nov. 10, 2009) (even if an IP address is vulnerable to hijacking by a third party,

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other evidence of defendant’s activities provided sufficient probable cause for a search warrant);
United States v. Carter, 549 F. Supp. 2d 1257, 1268–69 (D. Nev. 2008) (even though outside
computer users could gain access to the internet through a subscriber’s IP address and computers
can use software to “spoof” another person’s assigned IP address, thus diminishing the likelihood
that particular transmissions emanated from the subscriber’s premises, this is insufficient to
eliminate probable cause); United States v. Merz, No. XX-XXXXXXX, 2009 WL 1183771 (E.D. Pa.
May 4, 2009) (warrant linking IP address to residential address sufficient to support search warrant);
United States v. Latham, No. 2:06-cr-379-LDG, 2007 WL 4563459, at *1 (D. Nev. Dec. 18, 2007)
(“evidence of possible alternative means by which images could be uploaded to the internet using
[defendant’s] assigned IP address other than by a computer located in that residence does not call
into doubt whether there was a fair probability that the originating computer was located at that
residence, or that evidence regarding the possession of the images would be located at that
residence”); United States v. Huitt, No. CR-07-90-S-BLW, 2007 WL 2355782 (D. Idaho Aug. 17,
2007) (affidavit that did not address “spoofing” of IP addresses was otherwise accurate and
sufficient to support probable cause); United States v. Hibble, No. CR 05-1410 TUC DCB, 2006 WL
2620349, at *11 (D. Ariz. Sept. 11, 2006) (defendant’s suggestion that hacking, “spoofing,”
tampering, theft or viral infections could have been responsible for the unlawful images on his
computer was insufficient to warrant a Franks hearing, but were more suitably addressed at trial).
In Grant, the First Circuit also cited cases where search warrants were issued based on little more
than the activities of a defendant’s registered screen name. Grant, 218 F.3d at 75 n.2 (citing United
States v. Tank, 200 F.3d 627, 629–30 (9th Cir. 2000); United States v. Fabiano, 169 F.3d 1299, 1302
(10th Cir. 1999); United States v. Hibbleer, 159 F.3d 233, 234 (6th Cir. 1998)). Finally, in United
States v. Gourde, 440 F.3d 1065, 1069 (9th Cir. 2006) (en banc), the government obtained a warrant
to search defendant’s residence and personal computer for child pornography based only on
information in the affidavit that defendant had subscribed to and remained a member of an internet
website which charged a monthly fee, and which advertised and allowed members to view and
download both legal pornography and illegal child pornography. The issuing judge’s application
of a “common sense approach,” to conclude that evidence of defendant’s subscription to even this
“mixed” website provided the necessary “fair probability” to investigate further, supported a finding

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of probable cause for issuance of the search warrant. Id. at 1069, 1071–72. The court in Gourde
referenced the “collector profile” of a child pornography aficionado, noting that this strengthens the
inference and increases the fair probability that evidence of a crime will be located within the
residence of an individual whose computer has logged suspicious activity.11 Gourde, 440 F. 3d at
1072 (citing United States v. Hay, 231 F.3d 630, 636 (9th Cir. 2000)).
         Defendant does not dispute that there was probable cause in the warrant as written. In turn,
the court does not disagree that information about Defendant’s account having been compromised,
if in fact that is what happened, would have been relevant to the reviewing judge. However, as set
forth in Ms. Cordero’s affidavit, it does not appear that McMahon’s assessment of “compromise”
was accurate. Furthermore, even if it had been, the above-cited cases establish that the possibility
that Defendant’s account had been compromised would not have eliminated the “fair probability that
contraband or evidence of a crime [would] be found in [Defendant’s residence],” or the fact that a
“reasonably prudent person” would believe that his residence “contain[ed] contraband or evidence
of a crime.” See Noriega, 676 F.3d 1252. As was poetically stated by one court:
         Law enforcement officers were not required to negate every possible explanation for
         child pornography having been sent from [defendant’s] IP address before applying
         for a warrant to search the apparent source-[defendant’s] computer. When federal
         agents hear hoof beats, they are not required to eliminate the possibility of zebras
         before requesting a warrant to look for horses.
United States v. Courtney, No. 4:07cr00261/JLH, 2008 WL 4998997, at *4 (E.D. Ark. Nov. 20,
2008).
         Therefore, although Defendant contends that counsel was constitutionally ineffective for
failing to file a motion to suppress, based on the foregoing analysis, this court does not agree.
Counsel is not ineffective for failing to preserve or argue a meritless claim. Freeman v. Attorney
General, Florida, 536 F.3d 1225, 1233 (11th Cir. 2008); see also Brownlee v. Haley, 306 F.3d 1043,
1066 (11th Cir. 2002) (counsel was not ineffective for failing to raise issues clearly lacking in
merit); Chandler v. Moore, 240 F.3d 907 (11th Cir. 2001) (counsel not ineffective for failing to
object to “innocuous” statements by prosecutor, or accurate statements by prosecutor about effect

         11
        The affidavit in this case includes two pages describing “characteristics” of child
pornography collectors (doc. 855, exh. A at ¶ 16).
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of potential sentence); Meeks v. Moore, 216 F.3d 951, 961 (11th Cir. 2000) (counsel not ineffective
for failing to make meritless motion for change of venue); Jackson v. Herring, 42 F.3d 1350, 1359
(11th Cir. 1995) (counsel need not pursue constitutional claims which he reasonably believes to be
of questionable merit); United States v. Winfield, 960 F.2d 970, 974 (11th Cir. 1992) (no ineffective
assistance of counsel for failing to preserve or argue meritless issue); Lancaster v. Newsome, 880
F.2d 362, 375 (11th Cir. 1989) (counsel was not ineffective for informed tactical decision not to
make what he believed was a meritless motion challenging juror selection procedures where such
a motion has never been sustained because such a motion would not have been successful).
         Similarly, to the extent Defendant contends that his plea was involuntary, based on the faulty
premise that the Government’s evidence “should have been suppressed,” the contention is without
merit, and his motion should be denied.
                                  CERTIFICATE OF APPEALABILITY
         As amended effective December 1, 2009, § 2255 Rule 11(a) provides that “[t]he district court
must issue or deny a certificate of appealability when it enters a final order adverse to the applicant,”
and if a certificate is issued “the court must state the specific issue or issues that satisfy the showing
required by 28 U.S.C. § 2253(c)(2).” A timely notice of appeal must still be filed, even if the court
issues a certificate of appealability. § 2255 11(b).
         After review of the record, the court finds no substantial showing of the denial of a
constitutional right. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 483–84 (2000) (explaining how
to satisfy this showing) (citation omitted). Therefore, it is also recommended that the court deny a
certificate of appealability in its final order.
         The second sentence of new Rule 11(a) provides: “Before entering the final order, the court
may direct the parties to submit arguments on whether a certificate should issue.” If there is an
objection to this recommendation by either party, that party may bring this argument to the attention
of the district judge in the objections permitted to this report and recommendation.


         Based on the foregoing, it is respectfully RECOMMENDED:
         1.        The motion to vacate, set aside, or correct sentence (doc. 839) be DENIED.
         2.        A certificate of appealability be DENIED.

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         At Pensacola, Florida, this 12th day of June 2012.



                                                 /s/ Elizabeth M. Timothy
                                                 ELIZABETH M. TIMOTHY
                                                 UNITED STATES MAGISTRATE JUDGE



                                         NOTICE TO THE PARTIES

       Any objections to these proposed findings and recommendations must be filed within
fourteen days after being served a copy thereof. Any different deadline that may appear on
the electronic docket is for the court’s internal use only, and does not control. A copy of
objections shall be served upon all other parties. Failure to object may limit the scope of
appellate review of factual findings. See 28 U.S.C. § 636; United States v. Roberts, 858 F.2d
698, 701 (11th Cir. 1988).




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